Case 2:19-cv-07714-JMV-SCM Document 1 Filed 03/04/19 Page 1 of 16 PageID: 1



  LAWRENCE C. HERSH
  Attorney at Law
  17 Sylvan Street, Suite 102B
  Rutherford, NJ 07070
  (201) 507-6300
  Attorney for Plaintiff, and all others similarly situated


                            UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW JERSEY

  ––––––––––––––––––––––––––––––––––––––––– X
                                            :
  YOLANDA VASQUEZ, on behalf of herself and :
  all others similarly situated,            :
                                            :
                           Plaintiff,       : Civil Action No.
                                            :
  vs.                                       : CLASS ACTION COMPLAINT AND
                                            : JURY TRIAL DEMAND
  ALLIED INTERSTATE LLC,                    :
                                            :
                           Defendant.       :
                                            :
  –––––––––––––––––––––––––––––––––––––––– X




         Plaintiff YOLANDA VASQUEZ (hereinafter “Plaintiff”), on behalf of herself

  and all others similarly situated, by and through her undersigned attorney, alleges against

  the above-named Defendant ALLIED INTERSTATE LLC (hereinafter “Defendant"), its

  employees, agents, and successors, the following:



                               PRELIMINARY STATEMENT

         1.      Plaintiff brings this action for actual and statutory damages and

  declaratory and injunctive relief arising from the Defendant’s violation of 15 U.S.C. §

  1692 et seq., the Fair Debt Collection Practices Act (hereinafter “FDCPA”), which
Case 2:19-cv-07714-JMV-SCM Document 1 Filed 03/04/19 Page 2 of 16 PageID: 2




  prohibits debt collectors from engaging in abusive, deceptive and unfair practices.


                                JURISDICTION AND VENUE

          2.      This Court has jurisdiction over this action pursuant to 28 U.S.C. §1331.

  This is an action for violations of 15 U.S.C. § 1692 et seq.

          3.      Venue is proper in this district under 28 U.S.C. §1391(b) because

  jurisdiction is not founded solely on diversity of citizenship and Plaintiff resides in this

  jurisdiction.

                                         DEFINITIONS

          4.      As used in reference to the FDCPA, the terms “creditor,” “consumer,”

  “debt,” and “debt collector” are defined in § 803 of the FDCPA and 15 U.S.C. § 1692a.



                                        JURY DEMAND

          5.      Plaintiff demands a jury trial on all issues.



                                            PARTIES

          6.      The FDCPA, 15 U.S.C. § 1692 et seq., which prohibits certain debt

  collection practices provides for the initiation of court proceedings to enjoin violations of

  the FDCPA and to secure such equitable relief as may be appropriate in each case.

          7.      Plaintiff is a natural person and resident of Essex County, in the State of

  New Jersey, and is a “Consumer” as defined by 15 U.S.C. § 1692a(3).

          8.      Based upon information and belief defendant ALLIED INTERSTATE

  LLC (“ALLIED”) is a limited liability company organized under the laws of the State of



                                                 2
Case 2:19-cv-07714-JMV-SCM Document 1 Filed 03/04/19 Page 3 of 16 PageID: 3



  Minnesota with its principle place of business located in Columbus, Ohio.

         9.        Based upon information and belief, Defendant is a company that uses the

  mail, telephone, and facsimile and regularly engages in business, the principal purpose of

  which is to attempt to collect debts alleged to be due another. Each Defendant is a “Debt

  Collector” as that term is defined by 15 U.S.C. §1692(a)(6).



                              CLASS ACTION ALLEGATIONS

         10.       Plaintiff brings this action as a state wide class action, pursuant to Rule 23

  of the Federal Rules of Civil Procedure (hereinafter “FRCP”), on behalf of herself and all

  New Jersey consumers and their successors in interest (the “Class”), who have received

  debt collection letters and/or notices from the Defendant which are in violation of the

  FDCPA, as described in this Complaint.

         11.       This Action is properly maintained as a class action. The Class consists of:


                   •     All New Jersey consumers who were sent collection letters and/or

                   notices from Defendant ALLIED INTERSTATE LLC seeking to collect

                   on a student loan debt, which included the alleged conduct and practices

                   described herein.


               • The Class period begins one year prior to the filing of this Action.

         12.       The Class satisfies all the requirements of Rule 23 of the FRCP for

  maintaining a class action:

                   •   Upon information and belief, the Class is so numerous that joinder of

                       all members is impracticable because there are hundreds and/or



                                                 3
Case 2:19-cv-07714-JMV-SCM Document 1 Filed 03/04/19 Page 4 of 16 PageID: 4




                  thousands of persons who have received debt collection letters and/or

                  notices from the Defendant that violate specific provisions of the

                  FDCPA. Plaintiff is complaining of a standard form letter and/or

                  notice that is sent to hundreds of persons (See Exhibit A, except that

                  the undersigned attorney has, in accordance with Fed. R. Civ. P. 5.2

                  partially redacted the financial account numbers in an effort to protect

                  Plaintiff’s privacy);

              •   There are questions of law and fact which are common to the Class and

                  which predominate over questions affecting any individual Class

                  member. These common questions of law and fact include, without

                  limitation:

                      a. Whether Defendant violated various provisions of the FDCPA.

                      b. Whether the Defendant were seeking to collect on a time-

                          barred debt;

                      c. Whether Plaintiff and the Class have been injured by the

                          Defendant’s conduct;

                      d. Whether Plaintiff and the Class have sustained damages and

                          are entitled to restitution as a result of Defendant’s

                          wrongdoing, and if so, what is the proper measure and

                          appropriate statutory formula to be applied in determining such

                          damages and restitution; and

                      e. Whether Plaintiff and the Class are entitled to declaratory

                          and/or injunctive relief.

                                             4
Case 2:19-cv-07714-JMV-SCM Document 1 Filed 03/04/19 Page 5 of 16 PageID: 5



              •   Plaintiff’s claims are typical of the Class, which all arise from the same

                  operative facts and are based on the same legal theories;

              •   Plaintiff has no interest adverse or antagonistic to the interest of the

                  other members of the Class;

              •   Plaintiff will fairly and adequately protect the interest of the Class and

                  has retained experienced and competent attorneys to represent the

                  Class;

              •   A Class Action is superior to other methods for the fair and efficient

                  adjudication of the claims herein asserted. Plaintiff anticipates that no

                  unusual difficulties are likely to be encountered in the management of

                  this class action;

              • A Class Action will permit large numbers of similarly situated persons

                  to prosecute their common claims in a single forum simultaneously

                  and without the duplication of effort and expense that numerous

                  individual actions would engender. Class treatment will also permit the

                  adjudication of relatively small claims by many Class members who

                  could not otherwise afford to seek legal redress for the wrongs

                  complained of herein. Absent a Class Action, class members will

                  continue to suffer losses of statutory protected rights as well as

                  monetary damages. If the Defendant’s conduct is allowed to proceed

                  without remedy it will continue to reap and retain the proceeds of its

                  ill-gotten gains;




                                             5
Case 2:19-cv-07714-JMV-SCM Document 1 Filed 03/04/19 Page 6 of 16 PageID: 6



                 •   Defendant has acted on grounds generally applicable to the entire

                     Class, thereby making appropriate final injunctive relief or

                     corresponding declaratory relief with respect to the Class as a whole.


                                 STATEMENT OF FACTS

         13.     Plaintiff is at all times relevant to this lawsuit, a "consumer" as that term is

  defined by 15 U.S.C. §1692a(3).

         14.     Defendant collects and attempts to collect debts incurred or alleged to

  have been incurred for personal, family or household purposes on behalf of creditors

  using the United States Postal Service, telephone and/or the Internet.

         15.     Defendant is a “debt collector” as defined by 15 U.S.C. §1692a(6).

         16.     Sometime prior to March 2, 2018, Plaintiff allegedly incurred a financial

  obligation to Navient or its predecessor related to Plaintiff’s student loan related to the

  Sanford Brown Institute. (“the Student Loan obligation”).

         17.     The Student Loan obligation arose out of a transaction in which money,

  property, insurance or services, which are the subject of the transaction, are primarily for

  personal, family or household purposes.

         18.     The alleged Student Loan obligation is a "debt" as defined by 15 U.S.C. §

  1692a(5).

         19.     Navient and/or its predecessor is a "creditor" as defined by 15 U.S.C. §

  1692a(4).

         20.     Sometime prior to March 2, 2018, Navient, either directly or through

  intermediate transactions assigned, placed or transferred the Student Loan obligation to

  Defendant for collection.

                                                6
Case 2:19-cv-07714-JMV-SCM Document 1 Filed 03/04/19 Page 7 of 16 PageID: 7




          21.    At the time the Student Loan obligation was assigned, placed or

  transferred to Defendant, the Student Loan was obligation in default.

          22.    Defendant caused to be delivered to Plaintiff a letter dated March 2, 2018

  concerning the alleged Student Loan obligation, which sought to collect an amount owed

  of $43,131.04. Attached as Exhibit A is a copy of the March 2, 2018 collection letter.

          23.    The March 2, 2018 letter was sent or caused to be sent by a person

  employed by Defendant as a “debt collector” as defined by 15 U.S.C. § 1692a(6).

          24.    The March 2, 2018 letter is a “communication” as defined by 15 U.S.C. §

  1692a(2).

          25.     Upon receipt, Plaintiff read the March 2, 2018 collection letter.

          26.    The March 2, 2018 collection letter identified the original Creditor as

  Bank SNB, but “Bank SNB” does not appear to be the true name of the original creditor.

          27.    The March 2, 2018 collection letter offered to accept $2,655.05 as full

  settlement of the $43,131.04 Amount Due.

          28.    The Student Loan obligation was originally taken out on or about May 11,

  2005.

          29.    The last payment made on the Student Loan by Plaintiff was on or about

  April 23, 2010, with no further monthly payments being made.

          30.    The Amount owed of $43,131.04 in the March 2, 2018 collection letter

  includes interest, collection charges, late charges and/or other charges which Defendant

  was not entitled to collect on behalf of Navient from Plaintiff.




                                               7
Case 2:19-cv-07714-JMV-SCM Document 1 Filed 03/04/19 Page 8 of 16 PageID: 8



          31.    Since the date of last payment was April 23, 2010, the applicable six-year

  statute of limitations related to the Student Loan obligation expired prior to March 2,

  2018.

          32.    The March 2, 2018 letter does not inform Plaintiff that the applicable

  statute of limitations had expired and therefore any legal liability to the Student Loan

  obligation has also already expired.

          33.    Defendant’s use of the term “full settlement” and “settlement offer” would

  imply to the least sophisticated consumer that the Student Debt obligation was legally

  enforceable despite the fact that the statute of limitations had already passed.


          34.    Defendant regularly sent collection letters to New Jersey consumers that

  included a demand for an amount that was greater than the amount actually due at the

  time the collection letters were sent.

          35.    Based upon information and belief, Defendant regularly sent letters

  seeking to collect student loan debts which were time-barred.

          36.    Based upon information and belief, Defendant regularly sent letters

  seeking to collect debts, which were time-barred and did not inform the consumer that the

  applicable statute of limitations had passed.

          37.    The Federal Trade Commission has determined that “most consumers do

  not know their legal rights with respect to collection of old debts past the statute of

  limitations... When a collector tells a consumer that she owes money and demands

  payment, it may create the misleading impression that the collector can sue the consumer

  in court to collect that debt.” (http://www.ftc.gov/opa/2012/01/asset.shtm) The FTC

  entered into a consent decree with Asset Acceptance, one of the largest debt buyers in the

                                                  8
Case 2:19-cv-07714-JMV-SCM Document 1 Filed 03/04/19 Page 9 of 16 PageID: 9




  United States, requiring that it disclose to consumers when it is attempting to collect

  debts that are time-barred by the statute of limitations. United States of America (For the

  Federal Trade Commission) v. Asset Acceptance, LLC, Case No.; 8:12-cv-182-T-27EAJ

  (M.D.Fla)

             38.   Plaintiff suffered injury in fact by being subjected to the unfair and

  abusive practices of Defendant.

             39.   Plaintiff suffered actual harm by being the target of Defendant’s

  misleading debt collection communications.

             40.   Defendant violated Plaintiff’s rights not to be the target of misleading debt

  collection communications.

             41.   Defendant violated Plaintiff’s right to a trustful and fair debt collection

  process.

             42.   Under the FDCPA, Plaintiff had the right to receive certain information

  from Defendant regarding the expiration of the statute of limitations, and the effect of

  making a payment on the debt, could reset the statute of limitations.

             43.   Defendant’s communications were designed to cause Plaintiff to suffer a

  harmful disadvantage in charting a course of action in response to Defendant’s collection

  efforts.

             44.   Defendant’s March 2, 2018 collection letter which provided confusing and

  incorrect information caused Plaintiff a concrete injury in that Plaintiff was deprived of

  her right to receive accurate and trustworthy information regarding her rights under the

  FDCPA.

             45.   Defendant’s communications were designed to cause Plaintiff to suffer a

                                                 9
Case 2:19-cv-07714-JMV-SCM Document 1 Filed 03/04/19 Page 10 of 16 PageID: 10




   harmful disadvantage in charting a course of action in response to Defendant’s collection

   efforts.

              46.   The FDCPA ensures that consumers are fully and truthfully apprised of

   the facts and of their rights, the act enables them to understand, make informed decisions

   about, and participate fully and meaningfully in the debt collection process. The purpose

   of the FDCPA is to provide information that helps consumers to choose intelligently. The

   Defendant’s false representations misled the Plaintiff in a manner that deprived Plaintiff

   of his or her right to enjoy these benefits.

              47.   As a result of Defendant’s conduct, Plaintiff suffered an actual, concrete

   injury as a result of Defendant’s failure to provide Plaintiff information required under

   the FDCPA.

              48.   Plaintiff’s receipt of a collection letter which provided incorrect,

   incomplete and confusing information constitutes a concrete injury.

              49.   The failure of Defendant to provide correct information impeded

   Plaintiff’s ability to make a well-reasoned decision.

              50.   Defendant’s failure to provide accurate information injured Plaintiff in

   that it impacted her ability to decide on how to proceed with respect to the matter – will

   she hire an attorney, represent herself, payoff the debt, engage in a payment plan, file for

   bankruptcy, etc.

              51.   The deceptive communication additionally violated the FDCPA since it

   frustrated Plaintiff’s ability to intelligently choose his or her response.


                      POLICIES AND PRACTICES COMPLAINED OF


                                                  10
Case 2:19-cv-07714-JMV-SCM Document 1 Filed 03/04/19 Page 11 of 16 PageID: 11



             52.      It is Defendant’s policy and practice to send written collection

   communications, in the form annexed hereto as Exhibit A, which violate the FDCPA, by

   inter alia:

                      (a)     Using false, deceptive or misleading representations or means in
                              connection with the collection of a debt;

                      (b)     By making false representations of the character or legal status of a
                              debt; and

                      (c)     Using unfair or unconscionable means to collect or attempt to

                              collect any debt.

             53.      On information and belief, Defendant sent written communications, in the

   form annexed hereto as Exhibit A to at least 30 natural persons in the State of New

   Jersey.

                                                  COUNT I

                 FAIR DEBT COLLECTION PRACTICES ACT 15 U.S.C. §1692
                                  VIOLATIONS

             54.      Plaintiff repeats the allegations contained in paragraphs 1 through 53 as if

   the same were set forth at length.

             55.      Defendant violated 15 U.S.C. §1692 et seq. of the FDCPA in connection

   with its collection attempts against Plaintiff and others similarly situated.

             56.      By sending a collection letter, the same as or substantially similar to the

   March 2, 2018 collection letter, in which the collection letter, among other things, sought

   to collect on a time-barred debt, failed to give the original creditor’s real, sought to

   collect more interest, fees, collection charges and/or other charges Defendant violated:

             A. 15 U.S.C. §1692e, by using a false, deceptive or misleading representation or

                   means in connection with the collection of any debt;

                                                    11
Case 2:19-cv-07714-JMV-SCM Document 1 Filed 03/04/19 Page 12 of 16 PageID: 12



          B. 15 U.S.C. §1692e(2)(A), by falsely representing the character, amount, or

              legal status of any debt;

          C. 15 U.S.C. §1692e(2)(B), by falsely representing any services rendered or

              compensation which may lawfully be received by a debt collector for the

              collection of a debt;

          D. 15 U.S.C. § 1692e(5) by threatening to take any action that cannot legally be

              taken or this is not intended to be taken;

          E. 15 U.S.C. § 1692e(10) by using a false representation or deceptive means to

              collect or attempt to collect a debt from Plaintiff;

          F. 15 U.S.C. §1692f by using unfair or unconscionable means to collect or

              attempt to collect any debt; and,

          G. 15 U.S.C. §1692f(1), by collecting or attempting to collect any amount not

              expressly authorized by the agreement creating the debt or permitted by law.



          WHEREFORE, Plaintiff, on behalf of herself and others similarly situated,

   demands judgment against Defendant as follows:

          (a) Declaring that this action is properly maintainable as a Class Action and

   certifying Plaintiff as Class representative and attorney Lawrence Hersh, Esq., as Class

   Counsel;

          (b) Awarding Plaintiff and the Class maximum statutory damages;

          (c) Awarding Plaintiff and the Class actual damages;

          (d) Awarding pre-judgment interest;

          (e) Awarding post-judgment interest;



                                                  12
Case 2:19-cv-07714-JMV-SCM Document 1 Filed 03/04/19 Page 13 of 16 PageID: 13



          (f) Awarding reasonable attorneys’ fees, costs and expenses; and

          (g) Awarding Plaintiff and the Class such other and further relief as the Court may

          deem just and proper.

   Dated: Rutherford, New Jersey
          March 4, 2019

                                                  Respectfully submitted,


                                                 By: s/ Lawrence C. Hersh
                                                    Lawrence C. Hersh, Esq.
                                                    17 Sylvan Street, Suite 102B
                                                    Rutherford, NJ 07070
                                                    (201) 507-6300
                                                    Attorney for Plaintiff
                 CERTIFICATION PURSUANT TO LOCAL RULE 11.2

          I, Lawrence C. Hersh, the undersigned attorney of record for Plaintiff, do hereby

   certify to my own knowledge and based upon information available to me at my office,

   the matter in controversy is not the subject of any other action now pending in any court

   or in any arbitration or administrative proceeding.


   Dated: March 4, 2019                  By: s/ Lawrence C. Hersh
                                                 Lawrence C. Hersh, Esq




                                               13
Case 2:19-cv-07714-JMV-SCM Document 1 Filed 03/04/19 Page 14 of 16 PageID: 14




                                 EXHIBIT A
Case 2:19-cv-07714-JMV-SCM Document 1 Filed 03/04/19 Page 15 of 16 PageID: 15
Case 2:19-cv-07714-JMV-SCM Document 1 Filed 03/04/19 Page 16 of 16 PageID: 16
